                 Case 2:19-cr-00090-KJM Document 33 Filed 10/10/19 Page 1 of 3

 1 McGREGOR W. SCOTT
   United States Attorney
 2 ANDRE M. ESPINOSA
   BRIAN A. FOGERTY
 3 Assistant United States Attorney
   501 I Street, Suite 10-100
 4 Sacramento, CA 95814
   Telephone: (916) 554-2700
 5 Facsimile: (916) 554-2900
 6
   Attorneys for Plaintiff
 7 United States of America
 8                               IN THE UNITED STATES DISTRICT COURT

 9                                     EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                          CASE NO. 2:19-CR-90 MCE
11
                                     Plaintiff,         STIPULATION AND ORDER TO CONTINUE
12                                                      STATUS CONFERENCE AND FOR EXCLUSION
                            v.                          OF TIME UNDER SPEEDY TRIAL ACT
13
     ROBERT PIERRE DUNCAN, and                          DATE: October 10, 2019
14   EVA SYMONE CHRISTIAN,                              TIME: 10:00 a.m.
                                                        COURT: Hon. Morrison C. England, Jr.
15                                   Defendants.

16
17          The United States of America, by and through Assistant United States Attorney Brian A.

18 Fogerty, and defendant Robert Pierre Duncan, by and through counsel Shari Rusk, and defendant Eva
19 Symone Christian, by and through counsel Kelly Babineau, hereby agree and stipulate as follows:
20          1.      On September 12, 2019, the Court set this case for a status conference to be held on

21 October 10, 2019. ECF No. 31. The parties request that the Court vacate the October 10, 2019, status
22 conference, and set this case for another status conference on November 7, 2019, at 10:00 a.m., and
23 exclude time in the interim, pursuant to the Speedy Trial Act and Local Code T-4.
24          2.      The government has produced voluminous discovery in this case, including hundreds of

25 pages of documents, several cell phone extractions, and recordings of telephone calls that were
26 intercepted pursuant to court orders. Counsel for the defendants will need time to review the allegations
27 underlying all of the charges in the indictment, examine the evidence, confer with their respective
28 clients, and prepare for trial.


      STIPULATION AND ORDER                             1
30
                 Case 2:19-cr-00090-KJM Document 33 Filed 10/10/19 Page 2 of 3

 1          3.      Based on the foregoing facts, the parties agree that the interests of justice served by

 2 vacating the October 10, 2019, status conference, and resetting the case for a status conference on
 3 November 7, 2019, and excluding the intervening time under the Speedy Trial Act, outweighs the best

 4 interest of the public and the defendant in a speedy trial. The parties request that the Court adopt the
 5 facts set forth herein and order time excluded from the date of this Order to and including November 7,
 6 2019, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv), and Local Code T-4, to allow defense counsel
 7 to investigate and prepare for trial.
 8
     Dated: October 9, 2019                                   McGREGOR W. SCOTT
 9                                                            United States Attorney
10
                                                       By: /s/ BRIAN A. FOGERTY
11                                                         BRIAN A. FOGERTY
                                                           Assistant United States Attorney
12
13
     Dated: October 9, 2019                                   /s/ SHARI RUSK
14                                                            SHARI RUSK
15                                                            Counsel for Defendant
                                                              Robert Pierre Duncan
16
17   Dated: October 9, 2019                                   /s/ KELLY BABINEAU
                                                              KELLY BABINEAU
18                                                            Counsel for Defendant
                                                              Eva Symone Christian
19
20
21
22
23
24
25
26
27
28


      STIPULATION AND ORDER                               2
30
              Case 2:19-cr-00090-KJM Document 33 Filed 10/10/19 Page 3 of 3

 1                                                    ORDER

 2          The Court, having received, read, and considered the parties’ stipulation, and good cause

 3 appearing therefrom, adopts the parties’ stipulation in its entirety as its order. The Court VACATES the

 4 October 10, 2019, status conference, and RESETS the case for a status conference November 7, 2019, at
 5 10:00 a.m. The Court also specifically finds that based on the facts set forth in the parties’ stipulation,
 6 the failure to grant a continuance and exclude the time between the date of this Order and November 7,
 7 2019, would deny counsel reasonable time necessary for effective preparation, taking into account the
 8 exercise of due diligence. The Court further finds the ends of justice are served by the continuance and
 9 outweigh the best interests of the public and the defendant in a speedy trial. Time from the date of this
10 Order to and including November 7, 2019, is excluded from the computation of time within which the
11 trial of this case must commence under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and
12 (B)(iv), and Local Code T-4.
13          IT IS SO ORDERED.

14 Dated: October 9, 2019
15
16
17
18
19
20
21
22
23
24
25
26
27
28


      STIPULATION AND ORDER                               3
30
